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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 PORTO TECHNOLOGY CO., LTD                       §
                                                 §
 v.                                              §
                                                           Case No. 2:15-CV-456-JRG-RSP
                                                 §
 SAMSUNG ELECTRONICS AMERICA,                    §
 INC., ET AL.                                    §

                                    Motions Hearing
                           MAG. JUDGE ROY PAYNE PRESIDING
                                    March 10, 2016
 OPEN: 9:00 am                                         ADJOURN: 12:10 pm

 ATTORNEYS FOR PLAINTIFF:                            See attached

 ATTORNEY FOR DEFENDANTS:                            See attached

 LAW CLERK:                                          Richard Chen

 COURT REPORTER:                                     Brenda Smith

 COURTROOM DEPUTY:                                   Becky Andrews

 Court opened. Case called. Hao Ni announced ready and introduced co-counsel. Mike Jones
 announced ready for Apple, Samsung, LG and Motorola and introduced co-counsel Chad
 Everingham announced ready for HTC America and introduced co-counsel.

 Hao Ni requested that the rule be invoked. Mike Jones read a list of the witnesses that will be
 called in this hearing.

 Darin Snyder called Cecelia Son of LG. The witness was sworn. Mr. Snyder offered
 Defendants’ Exhibit 4. No objection. Exhibit admitted. Cross examination by Tim Wang.
 Mr. Wang offered Plaintiff’s Exhibit 1. No objection. Exhibit admitted.

 David Almeling called Tanya Scott of Motorola. Witness sworn. Cross examination by Tim
 Wang. Mr. Wang offered Plaintiff’s Exhibit 2. No objection. Exhibit admitted. Redirect by
 Mr. Almeling.

 Fred Williams called Stephanie Bariault of HTC America. Witness sworn. Cross examination
 by Tim Wang.

 Darin Snyder called Sean Diaz of Samsung. Witness sworn. Mr. Snyder offered Defendants’
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 Exhibit 6. No objection. Exhibit admitted. Cross examination by Tim Wang.         Mr. Wang
 offered Plaintiff’s Exhibit 4. No objection. Exhibit admitted.

 Darin Snyder called Vikki Ku by video deposition.

 Michael Jay called Michael Jaynes of Apple. Witness sworn. Cross examination by Tim Wang.
 Mr. Wang offered Plaintiff’s Exhibit 5. No objection. Exhibit admitted.

 Michael Jay called Elliott Schwartz by video deposition.

 Defendants’ will submit the deposition of Heung-Soo Lee for the Court’s consideration.

 Mr. Jay moved to admit Defendants’ Exhibit 16. No objection. Exhibit admitted. The Court
 admitted Exhibits 1-17.
